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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

MATTRESS FIRM, INC., et al.,                          Case No. 18-12241 (CSS)

                         Debtors.                     (Jointly Administered)




                           LIMITED OBJECTION TO THE
          DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
              (I) AUTHORIZING DEBTORS TO (A) OBTAIN POSTPETITION
          SECURED FINANCING PURSUANT TO SECTION 364 OF BANKRUPTCY
         CODE AND (B) UTILIZE CASH COLLATERAL; (II) GRANTING LIENS AND
         SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS; (III) GRANTING
           ADEQUATE PROTECTION; (IV) MODIFYING AUTOMATIC STAY; (V)
         SCHEDULING FINAL HEARING; AND (VI) GRANTING RELATED RELIEF

         Alexander Deitch files this limited objection to the debtor-in-possession financing motion

of the above-referenced debtors (the “Debtors”). Mattress Firm, Inc. sued Mr. Deitch in Texas

state court. See Mattress Firm, Inc. v. Levy, District Court of Harris County, Texas, 151 Judicial

District, Cause No. 2017-73196. Mr. Deitch filed counterclaims against Mattress Firm, Inc. for

tortious interference with his employment contract, tortious interference with his prospective

contracts and business relations, and quantum meruit. See Defendant Alexander Deitch’s

Counterclaim ¶¶ 77-108. Based on section 506(a)(1) of the Bankruptcy Code, Mr. Deitch asserts

secured claims based on his set off rights. In the alternative, to the extent Mr. Deitch’s claims

arise from the same transaction and occurrence as the Debtors’ claims against him,1 he asserts


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    Mr. Deitch disputes the claims Mattress Firm, Inc. asserts against him.


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recoupment rights. In re Communication Dynamics, Inc., 300 B.R. 220, 227 (Bankr. D. Del.

Del. 2003) (recoupment rights are not subordinate to security interests). In terms of Mr. Deitch’s

secured claim, given that Mr. Deitch did not (by definition) receive notice of the liens arising

under the debtor-in-possession order for purposes of Tex. Bus. & Comm. Code § 9.404(a)(2)

before Mr. Deitch’s prepetition claims arose, Deitch has first priority with respect to such set off

right. See id. at 223 (UCC financing statement is insufficient notice). It would appear that the

Debtors are not purporting to prime or otherwise affect Mr. Deitch’s set off or recoupment

rights. Out of an abundance of caution, however, Mr. Deitch files this limited objection to avoid

any uncertainty.




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         WHEREFORE, Alexander Deitch objects to the relief the Debtors seek to the limited

extent set forth above.

Dated: October 24, 2018                   PACHULSKI STANG ZIEHL & JONES LLP

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